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                       IN THE UNITED STATES DISTRICT COURT
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                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                      SEP2O20I8
                                                                                 C-EHK,U.S. OiSTRiCT COURT
                                    RICHMOND DIVISION                                  RICHMOND, VA


UNITED STATES OF AMERICA

V.                                                      CASE NO. 3:18CR0034(REP)

TERRAIL LAMONT JENNINGS,
               Defendant.



                                             ORDER


        This matter is before the court for consideration ofa report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance ofthe Defendant's plea of guilty to

specified charges in the pending matter pursuant to a Fed. R. Grim.P. 11 proceeding conducted by

the Magistrate Judge with the consent ofthe Defendant and counsel. It appearing that the

Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant was given
notice ofthe right to file specific objections to the report and recommendation that has been

submitted as a result ofthe proceeding; and it further appearing that no objection has been asserted

within the prescribed time period, it is hereby

        ORDERED that the report and recommendation ofthe Magistrate Judge is ADOPTED and

the Defendant is found guilty ofCount One ofthe Criminal Information.



                                                              /s/
                                                     Robert E. Payne
                                                     Senior United States District Judge


Dated: September       ,2018
